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                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              WACO DIVISION



PARKERVISION, INC.,                        Civil Action Nos. 6:20-cv-00108-ADA
                      Plaintiff,
                                           JURY TRIAL DEMANDED
     vs.

INTEL CORPORATION,
                      Defendant.


     INTEL CORPORATION’S NOTICE OF SUPPLEMENTAL AUTHORITY
    REGARDING INTEL’S MOTION FOR FURTHER CLAIM CONSTRUCTION
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       Defendant Intel Corporation (“Intel”) wishes to bring to the Court’s attention the decision

in Grecia Estate Holdings, LLC v. Meta Platforms, Inc., No. 6:21-cv-00677-ADA, 2022 WL

2109296, at * 6 (W.D. Tex. June 6, 2022) (“Grecia”), which is relevant to Plaintiff ParkerVision,

Inc.’s IPR disclaimer, as raised by Intel’s Motion for Further Claim Construction. See Case Nos.

6:20-cv-00108-ADA (the “108 Case”), Dkt. 117. Grecia, like this case, concerned a patentee’s

IPR disclaimer and its subsequent taking of inconsistent positions regarding claim scope as

between the IPR proceedings and the district court litigation:

       To survive IPR, Grecia disclaimed any correspondence between credit card information
       and the “encrypted digital media” of the ’555 Patent. Claims 15-16 of the ’555 Patent
       require, in part, that the computer program product receive and authenticate a “membership
       verification token provided by a first user, corresponding to the encrypted digital media.”
       ’555 Patent at 16:54–59. In other words, there must be some relationship between the
       “membership verification token” and the “encrypted digital media.” Grecia’s Complaint
       alleges that a Facebook Pay user’s “PayPal account or Debit and Credit Card number” is
       the claimed “membership verification token.” ECF No. 1 at 6–7. Yet, in IPR, Grecia
       asserted that credit card information could not be the “membership verification token”
       because a credit card number corresponds to the credit card account and not digital media.
       Preliminary Response, Unified Patent Inc. v. Grecia, IPR2016-00789, Paper No. 5
       (P.T.A.B. June 22, 2016) at 21–22. Ultimately, Grecia seeks to benefit from claiming a
       distinction between the ’555 Patent and the DeMello reference during IPR yet refuses to
       confront the drawback of claiming the same distinction in litigation. Grecia’s allegations
       contradict prior sworn statements concerning the invention’s scope during IPR and,
       therefore, fail to “articulate why it is plausible that the accused product infringes the
       patent claim.” Bot M8, 4 F.4th at 1355. Grecia cannot possibly allege infringement on this
       ground.


Grecia, 2022 WL 2109296, at * 6 (emphases added).




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 Dated: June 27, 2022                               Respectfully submitted,

                                                    /s/ J. Stephen Ravel      .
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                              CERTIFICATE OF SERVICE

      I hereby certify that all counsel of record are being served with a copy of the foregoing

document via the Court’s CM/ECF system on June 27, 2022.


                                                  /s/ J. Stephen Ravel               .
                                                  J. Stephen Ravel



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